             Case 2:18-cv-01543-JLR Document 144 Filed 05/01/19 Page 1 of 3



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 7
                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
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10          BOMBARDIER INC.,                            CASE NO. C18-1543JLR

11                              Plaintiff,              ORDER EXTENDING TIME
                      v.                                REGARDING MOTIONS FOR
12                                                      PRELIMINARY INJUNCTION
            MITSUBISHI AIRCRAFT
13
            CORPORATION, et al.,
14
                                Defendants.
15
            On April 15, 2019, the court dismissed certain claims by Plaintiff Bombardier Inc.
16
     (“Bombardier”) against Defendants Mitsubishi Aircraft Corporation America, Inc.
17
     (“MITAC America”), Aerospace Testing Engineering & Certification, Inc. (“AeroTEC”),
18
     Michel Korwin-Szymanowski, Laurus Basson, and Cindy Dornéval, but granted
19
     Bombardier leave to file an amended complaint. (See generally 4/15/19 Order (Dkt.
20
     # 136).) Bombardier filed an amended complaint on April 30, 2019. (See Am. Compl.
21
     (Dkt. # 143).)
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     ORDER - 1
                Case 2:18-cv-01543-JLR Document 144 Filed 05/01/19 Page 2 of 3



 1          Bombardier previously filed two motions for preliminary injunction. (See 1st MPI

 2   (Dkt. # 4); 2d MPI (Dkt. # 123).) Bombardier’s first motion for a preliminary injunction

 3   is against MITAC America, AeroTEC, Mr. Basson, and Ms. Dornéval. 1 (See 1st MPI at

 4   6.) The parties have fully briefed Bombardier’s first motion. (See id.; AeroTEC MPI

 5   Resp. (Dkt. # 61); MITACA MPI Resp. (Dkt. # 114); Pl. MITACA Reply (Dkt. # 83); Pl.

 6   AeroTEC Reply (Dkt. # 86).) Bombardier’s second motion for a preliminary injunction

 7   is against MITAC Japan, Mr. Delarche, and Defendant Keith Ayre. (See 2d MPI at 6.)

 8   The second motion is noted for May 15, 2019, with responses due on May 9, 2019. (See

 9   4/15/19 Order (Dkt. # 137) at 2.)

10          Bombardier filed its two motions for preliminary injunction before the court

11   issued its April 15, 2019, order that dismissed certain claims with leave to amend. (See

12   generally Dkt.) Bombardier’s motions, therefore, potentially rely on outdated or

13   inapposite allegations.

14          Considering this background, the court ORDERS as follows:

15          1. Regarding the first motion for a preliminary injunction: Bombardier, MITAC

16               America, AeroTEC, Mr. Basson, and Ms. Dornéval may, but are not required

17               to, update the underlying motion and the responses to the motion by May 7,

18

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            1
             The first motion for a preliminary injunction was also brought against Defendant
20   Marc-Antoine Delarche (see 1st MPI at 6) because Bombardier believed that Mr. Delarche
     worked for AeroTEC (see Compl. (Dkt. # 1) ¶ 8). Currently, however, Mr. Delarche works for
     Defendant Mitsubishi Aircraft Corporation (“MITAC Japan”) in Japan. (See Am. Compl. ¶ 8.)
21
     Bombardier’s second motion for a preliminary injunction, which is against MITAC Japan and
     employees working for that company, therefore requests relief against Mr. Delarche. (See 2d
22   MPI at 6.)


     ORDER - 2
             Case 2:18-cv-01543-JLR Document 144 Filed 05/01/19 Page 3 of 3



 1             2019. All updates should focus on incorporating new material from the

 2             amended complaint and addressing issues discussed in the court’s April 15,

 3             2019, order. (See generally Am. Compl.; 4/15/19 Order.) Bombardier’s

 4             updates, however, may not add claims under which it seeks injunctive relief.

 5             Bombardier may not update its replies.

 6          2. Regarding the second motion for a preliminary injunction: Bombardier may,

 7             but is not required to, update the underlying motion by May 7, 2019. All

 8             updates should focus on incorporating new material from the amended

 9             complaint and addressing issues discussed in the court’s April 15, 2019, order.

10             (See id.) Bombardier’s updates, however, may not add claims under which it

11             seeks injunctive relief. MITAC Japan, Mr. Delarche, and Mr. Ayre’s

12             response(s) to the motion must be filed by May 13, 2019. Any reply by

13             Bombardier is due on May 17, 2019.

14   Any updated brief shall comply with the Local Civil Rules. See, e.g., Local Rules W.D.

15   Wash LCR 7(e)(3) (limiting motions for preliminary injunction and responses to 24

16   pages). Further, any updated brief will supplant the prior brief.

17          Dated this 1st day of May, 2019.

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                                                      JAMES L. ROBART
20
                                                      United States District Judge
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     ORDER - 3
